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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on September 15, 2022

UNITED STATES OF AMERICA : CRIMINAL NO.

v. : VIOLATIONS:
> =: 18 U.S.C. § 231(a)(3)
DONNIE DUANE WREN, and : (Civil Disorder)
> =: 18 U.S.C. §§ 1512(¢)(2)-
THOMAS HARLEN SMITH, : (Obstruction of an Official Proceeding)
> =©18 U.S.C. § 111(a)(1)
Defendants. :  (Assaulting, Resisting, or Impeding

Certain Officers)
18 U.S.C. § 111(a)(1) and (b)
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon)
18 U.S.C. § 1752(a)(1)
(Entering and Remaining in a Restricted
Building or Grounds)
18 U.S.C. § 1752(a)(2)
(Disorderly and Disruptive Conduct in a

: Restricted Building or Grounds)

: 18U.S.C. § 1752(a)(4)

: (Engaging in Physical Violence in a
Restricted Building or Grounds)
18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)
18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)
18 U.S.C. § 1752(a)(4) and (b)(1)(A)
(Engaging in Physical Violence in a
Restricted Building or Grounds)
40 U.S.C. § 5104(e)(2)(D)
(Disorderly Conduct in
a Capitol Building)
40 U.S.C. § 5104(e)(2)(F)
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(Act of Physical Violence in the Capitol
Grounds or Buildings)

INDICTMENT
The Grand Jury charges that:
COUNT ONE

On or about January 6, 2021, at approximately 3:03 p.m., within the District of Columbia,
THOMAS HARLEN SMITH committed and attempted to commit an act to obstruct, impede,
and interfere with law enforcement officers, that is, officers from the United States Capitol Police
and Metropolitan Police Department, lawfully engaged in the lawful performance of their official
duties incident to and during the commission of a civil disorder which in any way and degree
obstructed, delayed, and adversely affected commerce and the movement of any article and
commodity in commerce and the conduct and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a}(3))

COUNT TWO

On or about January 6, 2021, at approximately 4:20 p.m., within the District of Columbia,
DONNIE DUANE WREN and THOMAS HARLEN SMITH committed and attempted to
commit an act to obstruct, impede, and interfere with law enforcement officers, that is, officers
from the United States Capitol Police, Metropolitan Police Department, and other law enforcement
agencies, lawfully engaged in the lawful performance of their official duties incident to and during
the commission of a civil disorder which in any way and degree obstructed, delayed, and adversely
affected commerce and the movement of any article and commodity in commerce and the conduct
and performance of any federally protected function..

(Civil Disorder, in violation of Title 18, United States Code, Section 23 1(a)(3))
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COUNT THREE
On or about January 6, 2021, within the District of Columbia and elsewhere, THOMAS
HARLEN SMITH attempted to, and did, corruptly obstruct, influence, and impede an official
proceeding, that is, a proceeding before Congress, specifically, Congress’s certification of the
Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United
States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2), 2)

COUNT FOUR

On or about January 6, 2021, at approximately 4:20 p.m., within the District of Columbia,
DONNIE DUANE WREN and THOMAS HARLEN SMITH did forcibly assault, resist,
oppose, impede, intimidate, and interfere with, an officer and employee of the United States, and
of any branch of the United States Government (including any member of the uniformed services),
that is, officers from the United States Capitol Police and Metropolitan Police Department, and
other law enforcement agencies, while such people were engaged in and on account of the
performance of official duties, and where the acts in violation of this section involve physical
contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT FIVE
On or about January 6, 2021, at approximately 4:26 p.m., within the District of Columbia,
THOMAS HARLEN SMITH did forcibly assault, resist, oppose, impede, intimidate, and
interfere with, an officer and employee of the United States, and of any branch of the United States

Government (including any member of the uniformed services), that is, an officer from the

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Metropolitan Police Department, while such person was engaged in and on account of the
performance of official duties, and where the acts in violation of this section involve physical
contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT SIX

On or about January 6, 2021, within the District of Columbia, THOMAS HARLEN
SMITH, using a deadly or dangerous weapon, that is, a pole-like metal object, did forcibly assault,
resist, oppose, impede, intimidate, and interfere with, an officer and employee of the United States,
and of any branch of the United States Government (including any member of the uniformed
services), that is, Officer A.C., an officer from the Metropolitan Police Department, while such
person was engaged in and on account of the performance of official duties, and where the acts in
violation of this section involve physical contact with the victim and the intent to commit another
felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Section 111(a)(1) and (b))

COUNT SEVEN
On or about January 6, 2021, in the District of Columbia, DONNIE DUANE WREN did
knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-off,
and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President was and would be temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title
18, United States Code, Section 1752(a)(1))

COUNT EIGHT

On or about January 6, 2021, in the District of Columbia, DONNIE DUANE WREN did

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knowingly, and with intent to impede and disrupt the orderly conduct of Government business and
official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT NINE
On or about January 6, 2021, in the District of Columbia, DONNIE DUANE WREN did
knowingly engage in any act of physical violence against any person and property in a restricted
building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the
United States Capitol and its grounds, where the Vice President was and would be temporarily
visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4))

COUNT TEN
On or about January 6, 2021, in the District of Columbia, THOMAS HARLEN SMITH
did knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-
off, and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President was and would be temporarily visiting, without lawful authority to do so, and, during
and in relation to the offense, did use and carry a deadly and dangerous weapon, that is, a flagpole

and a pole-like metal object.
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(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Sections 1752(a)(1) and

(b)(1)(A))
COUNT ELEVEN

On or about January 6, 2021, in the District of Columbia, THOMAS HARLEN SMITH
did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, engage in disorderly and disruptive conduct in and within such proximity
to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted
area within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
conduct of Government business and official functions and, during and in relation to the offense,
did use and carry a deadly and dangerous weapon, that is, a flagpole and a pole-like metal object.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Sections

1752(a)(2) and (b)(1)(A))

COUNT TWELVE

On or about January 6, 2021, in the District of Columbia, THOMAS HARLEN SMITH
did knowingly engage in any act of physical violence against any person and property in a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting, and, during and in relation to the offense, did use and carry a deadly and
dangerous weapon, that is, a flagpole and a pole-like metal object.

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Sections 1752(a)(4) and

(b)(1)(A))
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COUNT THIRTEEN
On or about January 6, 2021, in the District of Columbia, DONNIE DUANE WREN and
THOMAS HARLEN SMITH willfully and knowingly engaged in disorderly and disruptive
conduct within the United States Capitol Grounds and in any of the Capitol Buildings with the
intent to impede, disrupt, and disturb the orderly conduct of a session of Congress and either House
of Congress, and the orderly conduct in that building of a hearing before or any deliberation of, a
committee of Congress or either House of Congress.
(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))
COUNT FOURTEEN
On or about January 6, 2021, in the District of Columbia, DONNIE DUANE WREN and
THOMAS HARLEN SMITH willfully and knowingly engaged in an act of physical violence
within the United States Capitol Grounds and any of the Capitol Buildings.
(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,

United States Code, Section 5104(e)(2)(F)) |

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.
